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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                               Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________


     DEFENDANT ROGER STONE’S RESPONSE TO THE COURT’S ORDER OF
                       SEPTEMEBER 20, 2019


       Pursuant to the Court’s Minute Order of September 20, 2019 requiring the parties to

inform the Court of any objections as to the unsealing of exhibits and the Court’s Memorandum

Opinion, Defendant Roger Stone does not object to unsealing any of the material mentioned in

the Court’s Order of September 20, 2019.



                                              Respectfully submitted,

                                              By: /s/_______________


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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 23, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day

on all counsel of record or pro se parties, via transmission of Notices of Electronic Filing

generated by CM/ECF.


                                               ___/s/ Chandler Routman_______________
                                                     Chandler P. Routman

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